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 EXHIBIT F
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                                   LYCOMING COUNTY NARCOTICS ENFORCEMENT UNIT
                                      NARCOTICS INVESTIGATION REPORT PAGE#

ORIGINAL DATE OF INCIDENT: 4/15/2020          CASE NUMBER: 20-03528
OFFICER SUBMITTING REPORT: Detective Anderson                        BUY NUMBER: I
DATE OF INCIDENT: 4/15/2020
TOTAL RESTITUTION:        :o.od
LA\V ENFORCEMENT PERSONNEL INVOLVED [Loudenslager, Dent, Havens, Edkin, Cascheral


CLASSIFICATION OF REPORT:                   ~ INITIAL                  ,d SUPPRESSION            [q SENTENCING
                                            !Di SUPPLEMENTAL           i9TRIAL                   !qCLOSED
                                            !□1 ARREST                 'O FORFEITURE             !QDESTRUCTION
                                            IQPRELIM. HEARING
b SCHOOL ZONE               'D PROB/PAROLE           )D; FIRE ARMS ENHANCEMENT              :0]FORFEITURE
REQUIRED
Synopsis: trhls report involves the illegal sale and distribution of narcotics. On Wednesday April 15, 2020, Manhew
Sumpter delivered (8) suspected Gabapentin pills and (3) suspected Suboxone pills to a confidential informant at 2034
Lycoming Creek Road in Old Lycoming Township.I




Suspect and Subject Information: i i
Manhew Thomas Sumpter
416 Brentwood Drive, Cogan Station, P.A. 17728
DOB
OLN~
so~
SID 348-14-34-1
PHONE 484-725-0846



OTN/LTN: i
Evidence:                  : □! LAB REQUEST SUBMITTED              iD LAB ANALYSIS RECEIVED
:see attached Spillman report. I




 Attachments: l8J SPILLMAN O LAB REPORT □; CRIMINAL COMPLAINT                            p SEARCH WARRANT
                  l8J PHOTOS/ AUDIO/VIDEO pSTATEMENTS '. □' RIGHTS WAIVERS
                 l8J OTHER 'Criminal Historyi




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                Case 4:21-cv-02041-KM Document 92-6 Filed 07/09/24 Page 3 of 10


                                      LYCOMING COUNTY NARCOTICS ENFORCEMENT UNIT
                                         NARCOTICS INVESTIGATION REPORT PAGE#

    NARRATIVE:

    On Wednesday April 15, 2020 Detective Loudenslager and myself, through the use of confidential informant 20-16
    (referred hereon as CI) arranged for the controlled purchase of narcotics on Lycoming Creek Road, in Old Lycoming
    Township. The following times are approximate.

    1258 hours- Detective Loudenslager and I met the CI at a predetermined location. I then strip-searched the CI (nothing
    found). Detective Loudenslager searched the Cl's vehicle (nothing found). CI advised us that the CI contacted the
    target, who the CI identified as Matthew Sumpter, by calling 484-725-0846 at 1125 hours on this date. CI advised that
    SUMPTER agreed to be picked up by the CI and said he would take the CI to purchase Xanax pills. SUMPTER then
    told the CI that he would be waiting for him at the Dollar General, 2062 Lycoming Creek Road.

    1302 hours- Detective Loudenslager and I followed the CI vehicle as it traveled from the predetermined location to
    Dollar General.

    1311 hours- CI vehicle stopped on Greene Avenue. Detective Loudenslager installed and initiated the audio and video
    recording device in the CI vehicle.

    1309 hours- Cl provided detectives with a description of SUMPTER. CI described him as a white male with blonde hair
    and stalky build and always wears a sweatshirt with the hood up. Detective Dent relayed that there was a male matching
    that description at the HR Block parking lot. Detective Dent advised that the male was wearing a camouflaged sweatshirt
    with the hood up. The male was also wearing a ball cap and black sweatpants and orange shoes.

    1314 hours- Detective Loudenslager and I followed the CI vehicle from Greene Ave, toward Dollar General. The CI
    vehicle then entered the rear of the Right Aid parking lot and continued to the front, toward Dollar General.

    I315 ho11rs- Detective Dent advised that he was able to see the CI vehicle. He advised the Cl vehicle pulled into the
    parking lot of Dollar General and the male in the camouflaged sweatshirt entered the front passenger seat of the vehicle.

    1316 hours- Detective Dent advised that the CI vehicle traveled north on Lycoming Creek Road and that he was
    following it.

    1321 hours- CI vehicle traveled east on Eckard Road. Detective Loudenslager and I continued to follow the CI vehicle.

    1323 hours- CI vehicle traveled onto Miller Road, which advised that it had no outlet. Detective Loudenslager and I
    staged at the bottom of Miller Road and waited for contact from the CI.

    1325 hours- The CI contacted Detective Loudenslager by phone and advised that SUMPTER had provided the CI with
    prescription pills. The CI advised that SUMPTER was dropped off at a residence and the Cl was traveling back to
    Eckard Road.

    1326 hours- The CI emerged at the intersection of Miller Road and Eckard Road.

     1327 hours- CI vehicle puled over on Eckard Road near Lycoming Creek Road. Detective Loudenslager confiscated the
    prescription pills from the Cl. The CI advised that SUMPTER did not charge the CI any money for the pills. SUMPTER
    told the CI that the CI took too Jong to contact him, which resulted in the Xanax dealer running out of pills to sell.
    SUMPTER delivered the CI eight white pills stamped "Nf 151" and three orange pills stamped "970" instead. The Cl
    advised that the CI then dropped SUMPTER off at his residence. We then followed the CI back to the predetermined
    location.

    1338 hours- Cl arrived at the predetermined location. I then searched the CI (nothing found). Detective Loudenslager
    searched the Cl vehicle (nothing found) .



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                  Case 4:21-cv-02041-KM Document 92-6 Filed 07/09/24 Page 4 of 10


                                      LYCOMING COUNTY NARCOTICS ENFORCEMENT UNIT
                                         NARCOTICS INVESTIGATION REPORT PAGE#

     Continued:

    1352 hours- Detective Loudenslager and I conducted a CI debrief with the CI. The following is a synopsis of the debrief.
    The CI advised that when he first arranged the deal with SUMPTER over the phone it was for as many Xanax or any
    type of prescription drug they could get. SUMPTER told the CI that he was going to pay $2.00 per pill and was going to
    charge the CI $4.00 per pill. SUMPTER told the CI to pick him up at the Dollar General and the Cl could drive
    SUMPTER to purchase the Xanax from a person near Dunkin Donuts in Newberry. The CI said that when he picked
    SUMPTER up, SUMPTER told the Cl that the dealer no longer had anymore Xanax. SUMPTER then directed the CI to
    drive him to his residence on Brentwood Drive, in Cogan Station. The CI said that once they arrived at the residence
    SUMPTER first provided the CI with $10.00 for gas. The CI told SUMPTER that the CI did not want gas money. The
    CI said SUMPTER then provided the CI with eight suspected Gabapentin pills and three suspected Suboxone pills.
    Refer to the Cl debrief audio for the entire debrief.

    At the conclusion of the debrief, Detective Loudenslager and myself than transported the CI, so the CI could identify the
    residence that SUMPTER was taken too. The CI identified the residence as 416 Brentwood Drive, Cogan Station. The
    CI was then paid $40.00 and released.

    Using the physical description of the prescription pills and the stamped identifiers, we were able to identify them as
    Gabapentin and Suboxone. The prescription pills were photographed and entered into evidence following agency
    policies and procedures and will be sent for testing to confirm their identity. I was provided the video and audio from
    Detective Loudenslager. The male seated in the passenger seat of the CI vehicle matched the photograph of Matthew
    Sumpter. Previous incidents involving SUMPTER show his address to be 416 Brentwood Drive. A photograph of
    SUMPTER and his criminal history are attached to this report.


     During the course of the controlled buy the Cl did have on their person electronic surveillance equipment.
     This investigation yielded (1) piece of electronic surveillance evidence; both audio and video. This evidence
     was collected in accordance with Title 18, Chapter 57 and entered into evidence
     The images and audio from that equipment were t ransferred to DVD and added to this report; see for
     additional details. I




     Nothing further.



     MONEY EXPENDED DURING INVESTIGATION:

     DATE OF EXPENDITURE: 04/1S/2020

     AMOUNT Of EXPENDrTURE: $40.00

     REASON FOR EXPENDITURE: Paid Cl 20-16




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DATE:!    t/   16/~
SUPERVISOR INITIALS /DATE; I

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      Case 4:21-cv-02041-KM Document 92-6 Filed 07/09/24 Page 5 of 10


                      LYCOMING COUNTY NARCOTICS ENFORCEMENT UNIT
                                 CONTINUATION REPORT

CASE NUMBER      : 20-003528
DATE             : 4/15/20
OFFICERS PRESENT : Loudenslager


Synopsis:
On Wednesday, April 15, 2020, I Detective Loudenslager, employed by the Lycoming County District
Attorney's Office Narcotics Enforcement Unit, did assist Detective Anderson with a controlled buy of
prescription pills.

At approximately 13:11: I equipped Cl 20-16 with an electronic surveillance device and activated said
device.

At approximately 13:28: I met with Cl 20-16 and deactivated the electronic surveillance equipment.

The recording from the electronic surveillance device was downloaded and entered into evidence as per
PA Title 18 Chapter 57.

Nothing Further.




OFFICER NAME/SIGNATURE:




                                                                               Dent and Havens Production 025
     Case 4:21-cv-02041-KM Document 92-6 Filed 07/09/24 Page 6 of 10


                   LYCOMING COUNTY NARCOTICS ENFORCEMENT UNIT
                              CONTINUATION REPORT

CASE NUMBER      : 20-03S28
DATE             : 4/15/2020
OFFICERS PRESENT : DET. DENT


Synopsis:
On Thursday, April 15, 2020, I Detective Dent, employed by the Lycoming County District Attorney's
Office Narcotics Enforcement Unit, did conduct surveillance of a controlled buy in the area of Lycoming
Creek Road, Old Lycoming Township. A confidential informant was utilized during the controlled buy,
hereinafter referred to as Cl.

At approximately 1309: I pulled into the Dollar General parking lot on Lycoming Creek Road and viewed
a white male matching the description that Detective Loudenslager had given out. The male was
wearing a camouflage hooded sweatshirt, black sweatpants, and orange shoes.

At approximately 1315: I observed the Cl vehicle pull into the Dollar General parking lot and pick up the
white male. The Cl vehicle then proceeded to pull out to Lycoming Creek Road and travel northbound. I
left my surveillance position and followed the Cl vehicle northbound on Lycoming Creek Road. I
maintained a constant visual of the vehicle.

At approximately 1321: I observed t he Cl vehicle turn eastbound on Eckard Road. I relayed this to
surveillance units behind me and they followed the Cl vehicle. I continued north on Lycoming Creek
Road.

Nothing Further.




OFFICER NAME/SIGNATURE:

                                                Page# /0 i I

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             Case 4:21-cv-02041-KM Document 92-6 Filed 07/09/24 Page 7 of 10


                                   LYCOMING COUNTY NARCOTICS ENFORCEMENT UNIT
                                      NARCOTICS INVESTIGATION REPORT PAGE#

 ORIGINAL DATE OF INCIDENT: 4/15/2020                       CASE NUMBER: 20-03528
 OFFICER SUBMITTING REPORT: Detective Dent                             BUY NUMBER: Not Applicable
 DATE OF INCIDENT: 9/24/2020
 TOTAL RESTITUTION: 0.00
 LAW ENFORCEMENT PERSONNEL INVOLVED :Det. Dentj



 CLASSIFICATION OF REPORT:                 00 INITIAL                l□; SUPPRESSION           :0: SENTENCING
                                           ID; SUPPLEMENTAL          ,□, TRIAL                 [□;CLOSED
                                           :□ ARREST                 p FORFEITURE
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                                           [q PRELIM. HEARING
[□ SCHOOL ZONE              Q PROB/PAROLE           i□; FIRE ARMS ENHANCEMENT             [□; FORFEITURE
 REQUIRED


Synopsis! This report involves the application of and execution of a Search Warrant at 416 Brentwood Drive, Cogan
Station, PA 17728, Lycoming County.                   I



Suspect and Subfect Information: ,
Matthew SUMPTER
416 Brentwood Drive
Cogan Station, PA 17728
DOB:
SID:34814341
SSN
Phone: (484) 725-0846 !
OTN/LTN:I

_Evidence:                 p LAB REQUEST SUBMITTED :Oi LAB ANALYSIS RECEIVED
'See attached Spilhnan report. I
' I
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  Attachments: ~ SPILLMAN O LAB REPORT iD CRIMINAL COMPLAINT □! SEARCH WARRANT
               jQPHOTOS/ AUDIO/VIDEO :QSTATEMENTS (0 RIGHTS WAIVERS
              !DjOTHER l




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                                     LYCOMING COUNTY NARCOTICS ENFORCEMENT UNIT
                                        NARCOTICS INVESTIGATION REPORT PAGE#

     NARRATIVE:

     On September 23, 2020 NEU CI 20-16, contacted me with information regarding Matthew SUMPTER, a known
     Heroin/Fentanyl user in the Williamsport Area. SUMPTER lives with his parents at 4 I 6 Brentwood Drive, Cogan
     Station, PA 17728.

    CI 20-16 stated that SUMPTER bad made several trips to Philadelphia in the past few weeks and had been there as
    recently as the morning of September 23rd • CI 20-16 stated that SUMPTER had recently started to sell Fentanyl in the
    Williamsport Area and SUMPTER would ask Cl 20-16 to try and find him customers. CI 20-16 stated they were asked
    by SUMPTER to come to SUMPTER's house on the evening of September 23 rd to see what he bad brought back from
    Philadelphia. SUMPTER bad a pill bottle full of what he said was Fentanyl and had said he bad just spent $1600 on the
    drug while in Philadelphia. CI 20-16 was able to take pictures of the pill bottle and send them to me. CI 20-16 stated
    that SUMPTER indicated that he had more than just the pill bottle of Fent.any! and said that SUMPTER would usually
    keep it in a room in the basement area of his residence.

    On September 24, 2020 I applied for a Sealed Search Warrant for 416 Brentwood Drive based on the information that CI
    20-16 had provided to me and was approved by President Judge Butts.

    At approximately 1430: Members of the NEU traveled to 416 Brentwood Drive where SUMPTER's mother was
    encountered in the open garage. When asked where her son Matt was, she indicated that he was in the basement
    Detective Havens and myself went to the basement where SUMPTER was encountered laying on the couch. SUMPTER
    was placed in handcuffed and searched. I then took SUMPTER out to my unmarked police car and placed him in the
    back seat.

    At approximately 1438: I provided SUMPTER with his Miranda Rights in which he understood and agreed to speak to
    me. SUMPTER said that there was sma!J bags of Fentanyl in his closet in his bedroom as well as personal use
    Marijuana. SUMPTER indicated that he gets his Fentanyl from a black male in Williamsport named Anthony
    BARASKY. SUMPTER stated that he can call BARASKY at any time and was able to meet him shortly after to
    purchase the Fentanyl.

    At approximately 1525: The Search Warrant was completed and SUMPTER was released on his own recognizance. A
    copy of the front page of the warrant and the Receipt/Inventory of Seized Property fonn was left on the dining room
    table. Notable items found during the search are:

         I) SWI : Small plastic bag containing suspected Fentanyl found by #515 in Room#) on the top closet shelf inside
            a prescription pill bottle. Approximately .6 grams.
         2) SW2: Small plastic bag containing suspected Fentanyl found by #515 in Room #1 on the top closet shelf inside
            a prescription pill bottle. Appro.ximately 2.42 grams.
         3) SW3: Small amount of Marijuana by #515 in Room#! on top of a book shelf inside a prescription pill bottle.
            Approximately 1.59 grams.

    All evidence was photographed in place. Evidence was then weighed, photographed, and entered into evidence once
    back at NEU Headquarters.

    Nothing Further.




SIGNATURE OF REPORTING OFFICER;!
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                            Case 4:21-cv-02041-KM Document 92-6 Filed 07/09/24 Page 9 of 10

        A COPY OF THIS FORM WHEN COMPLETED IS TO BE ATTACHED TO EACH COPY OF THE SEARCH WARRANTS/AFFIDAVIT
     Commonwealth of Pennsylvania                                                                                                                                                       RECEIPT/ INVENTORY


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                                                                                                                                                                                                OF SEIZED PROPERTY
     COUNTY OF                                    Lycoming
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     The following property was taken / seized and a copy of this Receipt / Inventory with a copy c:I the Search
     Warrant and affidavit(s) (if not sealed) was
     D personally served on (name of person)
     D was left at (describe the location)
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            Case 4:21-cv-02041-KM Document 92-6 Filed 07/09/24 Page 10 of 10


                                  LVCOMING COUNTY NARCOTICS ENFORCEMENT UNIT
                                      NARCOTICS INVESTIGATION REPORT PAGE#

ORIGINAL DATE OF INCIDENT: 4/15/2020                   CASE NUMBER: 20-03528
OFFICER SUBMITTJ~G REPORT: Detective Dent                         BUY NUMBER: Not Applicable
DA TE OF INCIDENT: l 0/5/2020
TOTAL RESTITUTION: 0.00
LAW ENFORCEMENT PERSONNEL INVOLVED .Del. Dentj



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CLASSIFICATION OF REPORT:                0 INITIAL
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                                         □ ARREST               '□ FORFEITURE            0 O~-rRUCTION
                                         0 PRELIM. HEARING

D SCHOOL ZONE              0 PROB/PAROLE        0 FIRE ARMS ENHANCEMENT             '□· FORFEITURE
REQUIRED


Svnopsls! This report involves the arrest of Matthew SUMPTER. SUMPTER was arraigned in front ofMDJ Lepley and
was given $25,000 signature bail.




Suspect and Sub(ect Information:
Matthew SUMPTER
416 Brentwood Drive
Cogan Station, PA 17728
DOB:
SID: ~
SSN:11111111111111
Phone: (484) 725-0846 .

OTN/LTN:
Evidence;                  D LAB REQUEST SUBMITTED           p LAB ANALYSIS RECEIVED
See attached Spillman report. I




 Attachments: D SPILLMA.~ ,0 LAB REPORT ~ CRIMINAL COMPLAINT O SEARCH WARRANT
                 D PHOTOS/ AUDIO/ VIDEO O STATEMENTS                □ RIGHTS WAIVERS
                .□ OTHER I




                                                                                    Dent and Havens Production 047
